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                                   NITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA

                                    )
BUZZFEED INC.,                      )
                                    )
                Plaintiff,          )
                                    )
           v.                       )                             Civil Action No. 18-1556 (TSC)
                                    )
U.S. DEPARTMENT OF JUSTICE, et al., )
                                    )
                Defendants.         )
                                    |)

                                CORRECTED JOINT STATUS REPORT

         With apologies for its tardy submission,1 Plaintiff, Buzzfeed Inc. (“Plaintiff”) and

Defendants U.S. Department of Justice (“DOJ”) and Federal Bureau of Prisons (“BOP”)

(collectively, “Defendants”), by and through undersigned counsel, respectfully submit their

divergent positions on the near-term schedule of proceedings in this matter.

                                              DEFENDANTS’ POSITION

         1.       On March 11, 2020, the World Health Organization publicly characterized

COVID-19 as a pandemic. 2 On March 13, 2020, the President declared a National Emergency in

an effort to address the spread of COVID-19, 3 and on March 16, 2020, the President announced




1
  The Parties agreed to the language of this report on April15, but due to a miscommunication it was, it was
inadvertently not filed. Counsel is deeply sorry for this failure, ad assures the court that it will not happen again.
2
  Centers for Disease Control and Prevention. “Coronavirus Disease 2019 (COVID-19):
Situation Summary,” https://www.cdc.gov/coronavirus/2019-ncov/cases-updates/summary.html
(last accessed Mar. 19, 2020).
3
  See https://www.whitehouse.gov/presidential-actions/proclamation-declaring-national-emergency-
concerning-novel-coronavirus-disease-covid-19-outbreak/ (last accessed Mar. 19, 2020).
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new guidance to slow the spread of the virus, including avoiding groups of more than 10 people

and working or schooling from home whenever possible. 4

       2.       The President’s guidance follows recommendations by the Centers for Disease

Control and Prevention to engage in social distancing, and, in some circumstances, to close

schools. 5 The Office of Personnel Management has been issuing guidance concerning the

continuity of Federal Government operations, including recommendations that agencies permit

employees to telework. 6 The Office of Management and Budget has asked agencies to “offer

maximum telework flexibilities to all current telework eligible employees, consistent with the

operational needs of the departments and agencies as determined by their heads.” 7 All schools in

the area have been closed. And, most recently, Maryland, Virginia and the District of Columbia

have issued Stay-at-Home orders, further emphasizing that on-site work is, with the exception of

the smallest category of core functions, no longer possible.

       3.       The spread of COVID-19 throughout the United States has created profound

challenges of achieving an already demanding mission under the current conditions.           For



4
 See The President’s Coronavirus Guidelines for America, https://www.whitehouse.gov/ wp-
content/uploads/2020/03/03.16.20_coronavirus-guidance_8.5x11_315PM.pdf (last accessed Mar.
19, 2020).
5
  See Centers for Disease Control and Prevention. “Implementation of Mitigation Strategies for
Communities with Local COVID-19 Transmission, https://www.cdc.gov/ coronavirus/2019-
ncov/downloads/community-mitigation- strategy.pdf (last accessed Mar. 19, 2020).
6
  See United States Office of Personnel Management, “Memorandum for: Heads of Executive
Departments and Agencies. Subject: Coronavirus Disease 2019 (COVID-19); Additional
Guidance” (Mar. 7, 2020), available at https://www.chcoc.gov/content/coronavirus-disease-
2019-covid-19-additional-guidance (last accessed Mar. 19, 2020).
7
  See Memorandum from the Acting Director of The Office of Management and Budget to the
Heads of Departments and Agencies “Updated Guidance for National Capital Region on
Telework Flexibilities in Response to Coronavirus” (Mar. 15, 2020), https://www.whitehouse.
gov/wp-content/uploads/2020/03/M20-15-Telework-Guidance-OMB.pdf (last accessed Mar. 19,
2020).
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example, because numerous Assistant United States Attorneys are now working remotely on a

daily basis, teleworking resources (in particular, computing resources) are strained, and technical

problems associated with those strains consume time to troubleshoot and resolve.                The

experience of the U.S. Attorney’s Office is not unique. Several agencies, including the agency in

this case, are experiencing similar disruptions and slowdowns.               Collaborating in this

environment, including exchanging work-product with agency counterparts is more difficult and

less efficient.

        4.        More specifically, the offices of several of the federal government’s departments

and agencies that process FOIA requests have been deemed non-essential to those departments’

and agencies’ core missions, including, most prominently the Federal Bureau of Investigation’s

Records/Information Dissemination Section, which has ceased operations during the crisis.

        5.        Although a full-scale cessation of operations had yet not taken effect at BOP (nor

may it ever), the agency informs that its FOIA operations have been significantly impacted by

COVID-19, with several of its staff attempting to do the agency’s work from home. Agency

counsel believes that a consequence of the current conditions is a significant impact on speed and

efficiency.

        6.        Current conditions associated with the COVID-19 pandemic have significantly

increased the time needed to prepare filings as networks and the access points to them are being

taxed by volumes that exceed capacity. In the hope of being in a better position to assess the

impact of these impediments on scheduling in a manner that permits greater confidence that a

realistic deadline is being set, Defendants request the opportunity to submit a further joint status

report in 45 days that sets forth the parties proposed schedule.
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       7.       For the foregoing reasons, Defendants request permission to file a joint status

report on May 19, 2020, either (1) jointly proposing a schedule for proceeding to dispositive

motions; (2) jointly agreeing for a further extension in light of intervening events; or(3)

expressing divergent views about the best path forward.



                                        PLAINTIFF’S POSITION

       8.       While of course Plaintiff recognizes the significant logistical challenges the on-

going pandemic has created for all parties, its position on the short-term schedule for this

litigation differs from Defendants’.

       9.       Plaintiff is confident that all parties can effectively proceed with summary

judgment briefing while continuing to follow all state and Federal guidance. While health

concerns have necessarily slowed some aspects of Government functioning, it is Plaintiff’s

experience that written briefing can be conducted effectively in the current climate.

       10.      Because of the strong public interest in the continuation of FOIA cases, Plaintiff

proposes       the      following      schedule      for      proceedings        in         this    case:

Defendants     will   file   their   motion   for   summary    judgment     by        May     28,   2020.

Plaintiff will file their cross-motion for summary judgment and opposition to Defendants’

motion by July 13. Defendants’ will file their reply and opposition to Plaintiff’s motion by

August 3. Plaintiff will file their reply by August 24.



Dated: April 21, 2020                         Respectfully submitted,

LOEVY & LOEVY                                 TIMOTHY J. SHEA, D.C. Bar # 437437
                                              United States Attorney
By: /s/ Matthew Topic
Matthew Topic                                 DANIEL F. VAN HORN, D.C. Bar # 924092
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